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10                             UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                 No. CR 07-1402-SJO

13               Plaintiff,                    GOVERNMENT’S SENTENCING POSITION;
                                               EXHIBITS
14                    v.
                                               Sentencing Date: Dec. 12, 2016
15   JEREMIAH MOSHER, et al.,                  Time:         9:00 a.m.
                                               Location:     Courtroom of the
16               Defendants.                                 Hon. S. James Otero

17

18         Plaintiff United States of America, by and through its counsel
19   of record, the United States Attorney for the Central District of
20   California and Assistant United States Attorney Monica E. Tait,
21   hereby files its sentencing position and response to the presentence
22   report as to defendant Jeremiah Mosher.
23         This Response is based upon the attached memorandum of points
24   and authorities and Exhibits, its under seal submission of victim
25   data, the files and records in this case, and such further evidence
26   and argument as the Court may permit.
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 1    Dated: November 28, 2016             Respectfully submitted,

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 6                                               /s/
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Defendant Jeremiah Mosher (“defendant” or “Mosher”) appears for

 4   sentencing on his plea to count one, conspiracy to commit mail and

 5   wire fraud, in violation of 18 U.S.C. § 371.          The parties and the PSR

 6   are in agreement that the offense level for this defendant is 21.

 7   The government recommends a 5-level downward Booker variance for this

 8   defendant for the reasons stated below, and asks that the court

 9   impose a sentence of 21 months’ imprisonment, 3 years supervised

10   release, and an order of $450,374.15 in restitution.

11   II.   FACTS
12         Defendant pled guilty to one count of conspiracy, in violation

13   of Title 18, United States Code, Section 371.           Defendant’s conviction

14   is based on his participation in a fraudulent telemarketing operation

15   based in Montreal, Quebec, Canada, that targeted elderly victims in

16   both Canada and the United States.         In the plea agreement, defendant

17   agreed to the following statement of facts:

18         Beginning as early as 2004, and continuing through December
           2006, several individuals engaged in a conspiracy to commit
19         mail and wire fraud. The conspiracy operated as follows:
           working in a location in Montreal, Quebec, Canada (and
20         later from Vancouver, British Columbia, Canada), defendant
           agreed with others to defraud victims in the United States
21         and Canada, including victims located in the Central
           District of California. Defendant MOSHER knowingly joined
22         this conspiracy as a telemarketer by no later than November
           16, 2006, intending to accomplish its objects. Defendant’s
23         co-conspirators obtained “leads,” that is, names and
           contact information of potential victims in the United
24         States and Canada. Working from the leads, defendant and
           other telemarketers contacted victims by telephone and mail
25         and falsely informed them that they had won a large sum of
           money in a sweepstakes or lottery. As defendant then knew,
26         this representation was false and fraudulent, as there was
           no sweepstakes or lottery, and the victims called had not
27         won any sum of money from defendant or anyone with whom he
           was associated.
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 1         Defendant and other telemarketers falsely told the victims
           that, in order to collect their “winnings,” the victims had
 2         to pay a sum of money, which the telemarketers falsely
           represented was for taxes, administrative fees, insurance,
 3         legal fees, and other expenses that purportedly had to be
           paid before the “winnings” could be sent to the victims. As
 4         defendant then knew, these representations were false and
           fraudulent, as the victims had no reason to send money to
 5         defendant or anyone with whom he was associated.

 6         Defendant and other telemarketers instructed the victims to
           send the money for the purported expenses and fees required
 7         for release of their winnings in a variety of ways: (i) By
           wire transfer via Western Union or MoneyGram, either in a
 8         name of the victim’s choosing, or in a name supplied by the
           telemarketers; (ii) by mail or by commercial carrier, such
 9         as Federal Express, to an address supplied by the
           telemarketers; or (iii) by wire transfer from the victim’s
10         bank account into a bank account controlled by a co-
           conspirator. Defendant would receive a percentage of the
11         money he and two other telemarketers (co-defendants Arlene
           Grundy and April Francis Muir) obtained from victims they
12         called.

13         In furtherance of the conspiracy, and to help accomplish
           its objects, defendant MOSHER, together with his co-
14         conspirators, committed and willfully caused others to
           commit the following overt act: On November 18, 2006,
15         defendant MOSHER contacted co-defendant Tanya Ivanova and
           supplied her with information regarding the pickup of money
16         sent via Western Union by victim A.F.

17         During the time defendant was a member of the conspiracy,
           more than 10 victims of the conspiracy paid more than
18         $315,000 to the co-conspirators as a result of the
           fraudulent scheme. The scheme was committed through mass
19         marketing. Defendant knew or should have known that
           victims of the offense were vulnerable victims due to
20         advanced age and susceptibility to reloading.

21   (Plea agreement at pp. 7-9.)

22         As part of the investigation of this matter, the Royal Canadian

23   Mounted Police (“RCMP”) conducted a 6-week wiretap of numerous phones

24   connected to multiple participants in the scheme.           Based on the
25   wiretap and RCMP’s seizure of search warrant evidence (“Exhibits”)

26   from various defendants, its analysis of Western Union and MoneyGram

27   records, and interviews with certain victims, RCMP linked more than

28   100 victims to the entire fraud scheme.         (Exh. 1 (Victim Summary as

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 1   of November 21, 2007 by Sgt. Yves Leblanc)).          The government has

 2   submitted separately, under seal, the underlying data prepared by

 3   RCMP in accordance with Sgt. Leblanc’s discussion in Exhibit 1, from

 4   which the PSR amounts (set forth at PSR pp. 19-21) were derived,

 5   itemizing each loss by each victim.         See GOVERNMENT’S FILING OF LOSS

 6   ANALYSIS LISTING VICTIMS, DATES OF LOSSES, AND AMOUNTS LOST IN

 7   CONNECTINO WITH SENTENCING, docket no. 589.1          To compute loss (and

 8   restitution) for defendant Mosher only, the government has extracted

 9   from the under seal data only those victims and only those amounts

10   paid on or after defendant joined the conspiracy on or about November

11   16, 2006.    Thus, only the post-November 16, 2006 victims and amounts

12   appear in defendant’s PSR.

13         Conversations with the defendant and others were recorded during

14   the wiretap which indicate that defendant participated in the fraud

15   scheme for about a month until the RCMP’s search warrants effectively

16   halted the scheme.      (Exh. 2 at pp. 1-11 (wiretap summaries concerning

17   MOSHER).)    Defendant directly participated in fraudulent

18   transactions/attempted transactions involving about 9 identified

19   victims in the United States and Canada.          (Id. at pp. 1-10

20   (connecting calls concerning defendant to identified victims at PSR

21   pp. 19-21, as well as victims investigators were unable to

22

23
          1 Docket no. 589 was filed under seal in connection with
24
     defendant Adrien Stephenson’s recent sentencing, but was served on
25   defendant Mosher’s counsel as well. The victims and transactions on
     the government’s Under seal docket no. 589 include transactions and
26   victims for which the parties have agreed defendant is not
     responsible (because they occurred outside of the time defendant was
27   a member of the conspiracy). The victim list at PSR pp. 19-21 is
     limited to the victims and transactions during the time defendant has
28   agreed he was a member of the criminal conspiracy.

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 1   identify)).2    As his plea agreement admits, defendant teamed with

 2   other telemarketers, and “would receive a percentage of the money he

 3   and two other telemarketers (co-defendants Arlene Grundy and April

 4   Francis Muir) obtained from victims they called.”           (Plea agreement,

 5   dkt. 578 at 8; Exh. 2 at 11 (session 2506 on November 16, 2006,

 6   discussion of this arrangement with April Muir).)

 7   III. SENTENCING GUIDELINES CALCULATIONS
 8         The parties have agreed that the following calculations, which

 9   are consistent with the PSR and the plea agreement’s factual basis,

10   apply to this case:

11       Base Offense Level:                    6     [U.S.S.G. § 2B1.1(a)(2))]
12       Specific Offense
         Characteristics
13

14       Loss between $250,001 and
         $550,000                             +12   [U.S.S.G. § 2B1.1(b)(1)(G)]
15
         10 or more victims, and/or
16       offense committed through                                    [U.S.S.G.
         mass marketing                        +2     § 2B1.1(b)(2)(A)(i),(ii)]
17

18       Substantial part of fraud
         scheme committed from outside                                 [U.S.S.G.
19       the United States                     +2             § 2B1.1(b)(10)(B)]

20       Adjustments
         Vulnerable Victims                    +2     [U.S.S.G. §    3A1.1(b)(1)]
21

22       Acceptance of Responsibility          -3             [U.S.S.G. § 3E1.1]
23       Total Offense Level                   21

24

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27         2The accompanying wiretap summaries concern calls on John
     Bellini’s and Tanya Ivanova’s phone lines; RCMP did not record
28   defendant’s own phone, so the total number of victims he successfully
     solicited is unknown.
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 1   IV.   SENTENCING FACTORS
 2         The government believes that an evaluation of the factors set

 3   forth in 18 U.S.C. § 3553(a) demonstrates why a sentence of 21 months

 4   is appropriate, reflecting a variance of 5 levels from the advisory

 5   guidelines sentence in this matter.         The government below addresses

 6   the most notable of the § 3553(a) factors as applied to this

 7   defendant.

 8         A.     The nature and circumstances of the offense and
                  characteristics of the defendant
 9
           Defendant was on the front lines of the fraudulent organization:
10
     he was a telemarketer who directly lied to victims to persuade them
11
     to part with their money.       As the Court well knows, the scheme preyed
12
     on the elderly and infirm, causing substantial financial and
13
     emotional harm to these elders, as shown by the victim impact
14
     statements previously filed in this case, which are applicable to the
15
     entire scheme and are incorporated by this reference into this
16
     Sentencing Position. (Dkt. no. 462-3 (victim impact statements).                 The
17
     victims included people suffering from Alzheimer’s disease and
18
     dementia; the crime left victims too poor to remain in their own
19
     homes; defendants took money a pregnant mother of eight had saved for
20
     her newborn; they took an elderly couple’s life and retirement
21
     savings, leaving them broke and without money to buy food after
22
     paying bills; they caused a man to question his sanity, leading to
23
     hospitalization for his mental problems; and several victims were
24
     repeatedly victimized.       Based on all of the above, the nature of the
25
     offense was undeniably serious, and is a substantial factor
26
     supporting the recommended sentence.
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 1           B.     The need for the sentence imposed to reflect the
                    seriousness of the offense, to promote respect for the law,
 2                  and to provide just punishment for the offense.
 3           A 21-month sentence is appropriate to a person in defendant’s

 4   role.       A shorter sentence would be unjust given defendant’s role as a

 5   telemarketer working with two others, and given the more than

 6   $400,000 the scheme generated while defendant knowingly participated.

 7           C.     The need to avoid unwarranted sentence disparities among
                    defendants with similar records who have been found guilty
 8                  of similar conduct
 9           The government’s 5-level Booker variance recommendation relates

10   to this factor, due to the history of this specific case.

11           Defendant is an average-culpability telemarketer, only because

12   he was involved for a relatively short period of time.            He

13   participated in the scheme for about a month.

14           Recently, this Court has sentenced several of similarly-culpable

15   telemarketers in the scheme to below-guidelines sentences:

16                  -Arlene Grundy, with whom defendant worked, at offense

17           level 27 received a 24-month sentence.       Her offense level is

18           greater because she was sentenced before the November 2015

19           change in the sentencing guidelines (which affects the loss and

20           number of victims offense characteristics), and she was

21           responsible for additional loss.3

22                  -April Muir, with whom defendant also worked, at offense

23           level 27 received an 18-month sentence.       Her offense level was

24           the same as Grundy’s for the same reasons.        At the sentencing

25           hearing, this Court appeared to have been persuaded by defense

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             3
             The offense levels described herein for the other defendants
28   are based on the undersigned’s review of the plea agreement
     stipulations and the parties’ sentencing positions.
                                      6
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 1         arguments (contested by the government) that Muir was involved

 2         in the scheme for only a month, likely accounting for the

 3         difference in their sentences.

 4                -Lori Kofi Mensah at offense level 25 received a 24-month

 5         sentence.    His offense level was higher than defendant’s for the

 6         same reasons as Grundy’s; it differed from Grundy’s because he

 7         was responsible for less loss.

 8         A 5-level Booker variance for defendant (effectively, to level

 9   16) would yield an advisory guidelines sentence of 21-27 Months, the

10   same effective range at which defendants Grundy and Mensah were

11   sentenced, and slightly above the effective level at which Muir was

12   sentenced.    The government believes defendant is comparable in

13   culpability to Grundy, Muir, and Mensah, particularly since he teamed

14   with Grundy and Muir and shared in the proceeds of the deals they

15   worked.    Defendant is more culpable than Tanya Ivanova and Adrien

16   Stephenson, who each received sentences of 12 months and one day.                In

17   contrasted to Ivanova (ringleader John Bellini’s assistant) and

18   Stephenson (a crooked MoneyGram agent), defendant was on the phone

19   directly lying to victims.       Moreover, unlike defendant, Ivanova was

20   more like a pawn in the scheme, had no authority over anyone, and did

21   not realize at first that she was involved in a scam.            Defendant, by

22   contrast, was a seasoned telemarketer brought in to work with Muir

23   and Grundy to produce greater sales.4

24         Moreover, a 21-month sentence for defendant is about two-thirds

25   the sentence this Court imposed on telemarketer George

26   Chryssanthopoulos (36 months), and less than a quarter of the

27

28         4 Defendant’s conduct is not deserving of any aggravating role
     enhancement.
                                      7
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 1    sentence this Court imposed on the highly culpable telemarketer

 2    Jeffrey Jacobson and ringleader Bellini (who received 68- and 87-

 3    month sentences, respectively, for their wire fraud convictions).5

 4    These differences are appropriate given all these defendants’ higher

 5    (or much higher) levels of culpability and longer involvement in the

 6    scheme, while still providing just punishment for the nature of

 7    defendant’s offense.      Taking in all the sentences imposed so far in

 8    this case, a 21-month sentence for this defendant avoids unwarranted

 9    sentencing disparity.

10    V.    CONCLUSION
11          For the foregoing reasons, the government asks this court to

12    sentence defendant to a term of incarceration of 21 months.            In

13    addition, the Court should impose 3 years supervised release, a $100

14    special assessment, and an order of $450,374.15 in restitution.

15     Dated: November 28, 2016             Respectfully submitted,

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                                            LAWRENCE S. MIDDLETON
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22                                          Attorneys for Plaintiff
                                            UNITED STATES OF AMERICA
23

24          5 As the Court is aware, Bellini’s 87-month sentence was a
      reduced sentence due to his substantial downward departure for
25    cooperation. Similarly, Alexander Andriopoulous, the very first
      defendant who surrendered even before extradition proceedings,
26    received a similarly substantial departure for his assistance in the
      case (which was linked to the extradition of all the other
27    defendants)_and received probation. For these defendants, any
      sentencing disparity relating to these defendants is warranted, not
28    unwarranted, because defendant Stephenson did not cooperate. 18
      U.S.C. § 3553(a)(6).
                                       8
